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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03003 (SGJ)
                                                                        )
JAMES D. DONDERO,                                                       )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 23, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Order Granting Debtor’s Unopposed Motion for Leave to Serve and File Amended
          Complaint [Docket No. 75]


Dated: August 26, 2021
                                                      /s/ Elliser Silla
                                                      Elliser Silla
                                                      KCC
                                                      222 N Pacific Coast Highway, Suite 300
                                                      El Segundo, CA 90245



1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                   Exhibit A
                                                             Adversary Service List
                                                            Served via Electronic Mail


            Description                     CreditorName                   CreditorNoticeName                             Email
                                                                                                         john@bondsellis.com;
                                                                                                         john.wilson@bondsellis.com;
                                                                    John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                     Bonds Ellis Eppich Schafer     IV, Bryan C. Assink, Clay M. Taylor, clay.taylor@bondsellis.com;
Counsel for James Dondero            Jones LLP                      William R. Howell, Jr.               william.howell@bondsellis.com
Financial Advisor to Official                                       Earnestiena Cheng, Daniel H          Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors     FTI Consulting                 O'Brien                              Daniel.H.O'Brien@fticonsulting.com
                                                                    Melissa S. Hayward, Zachery Z.       MHayward@HaywardFirm.com;
Counsel for the Debtor               Hayward & Associates PLLC      Annable                              ZAnnable@HaywardFirm.com
Counsel for UBS Securities LLC and                                                                       andrew.clubok@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           Andrew Clubok, Sarah Tomkowiak sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                                                       asif.attarwala@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           Asif Attarwala, Kathryn K. George    Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                                                       jeff.bjork@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           Jeffrey E. Bjork, Kimberly A. Posin kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                       Zachary.Proulx@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           Zachary F. Proulx, Jamie Wine        Jamie.Wine@lw.com
                                                                                                         mclemente@sidley.com;
                                                                    Matthew Clemente, Alyssa Russell, alyssa.russell@sidley.com;
Counsel for Official Committee of                                   Elliot A. Bromagen, Dennis M.        ebromagen@sidley.com;
Unsecured Creditors                  Sidley Austin LLP              Twomey                               dtwomey@sidley.com
                                                                                                         preid@sidley.com;
                                                                    Penny P. Reid, Paige Holden          pmontgomery@sidley.com;
Counsel for Official Committee of                                   Montgomery, Juliana Hoffman,         jhoffman@sidley.com;
Unsecured Creditors                  Sidley Austin LLP              Chandler M. Rognes                   crognes@sidley.com
                                                                    Deborah Deitsch-Perez, Michael P. deborah.deitschperez@stinson.com;
Counsel for James Dondero            Stinson LLP                    Aigen                                michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                           Exhibit B
                                                                     Adversary Service List
                                                                   Served via First Class Mail

            Description                     CreditorName                   CreditorNoticeName                     Address1                 City     State    Zip
                                                                   John Y. Bonds, III, John T. Wilson,
                                      Bonds Ellis Eppich Schafer   IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
Counsel for James Dondero             Jones LLP                    William R. Howell, Jr.               Suite 1000                     Fort Worth   TX      76102
Counsel for UBS Securities LLC and                                                                      555 Eleventh Street, NW,
UBS AG London Branch                  Latham & Watkins LLP         Andrew Clubok, Sarah Tomkowiak Suite 1000                           Washington DC        20004
Counsel for UBS Securities LLC and                                                                      330 North Wabash Avenue,
UBS AG London Branch                  Latham & Watkins LLP         Asif Attarwala, Kathryn K. George    Ste. 2800                      Chicago      IL      60611
Counsel for UBS Securities LLC and
UBS AG London Branch                  Latham & Watkins LLP         Jeffrey E. Bjork, Kimberly A. Posin   355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
Counsel for UBS Securities LLC and
UBS AG London Branch                  Latham & Watkins LLP         Zachary F. Proulx, Jamie Wine         1271 Avenue of the Americas New York       NY      10020
                                                                   Deborah Deitsch-Perez, Michael P.     3102 Oak Lawn Avenue, Suite
Counsel for James Dondero             Stinson LLP                  Aigen                                 777                         Dallas         TX      75219




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